                 Case 1:24-cv-02105-JPW        Document 7       Filed 01/14/25       Page 1 of 1



                                 UNITED STATES DISTRICT COURT
                                                   for the
                                 M I DDL E DI STRI CT OF PEN N SY L V AN I A              Divisional Offices:
                             SYLV IA H . RAM BO UN IT E D ST AT E S CO URT H O USE
                                             1501 N . 6 T H ST RE E T                     Harrisburg:
                                           H a r r i sb u r g, P A 1710 2                 (717-221-3920
                                                                                          Scranton:
                                           Chambers: (717) 221-3970                       (570) 207-5600
Jennifer P. Wilson                     Judge_Wilson@pamd.uscourts.gov                     Williamsport:
 U.S. Di st r i c t Ju dge
                                                                                          (570) 323-6380




                                               January 14, 2025
To:     Counsel of Record

                                     Re: Bowie v. Hower et al.
                                     Case No. 1:24-CV-2105

Dear Counsel:

        The above action has been assigned to me. A case management conference will be scheduled in due
course. The purpose of this conference will be to establish a schedule for the management of the case that will
ensure a just, efficient, and inexpensive resolution of the case. The order scheduling the case management
conference will inform you in more detail of what is required in preparation for the conference. In the
meantime, the parties are expected to comply with the mandatory disclosure requirements of Federal Rule of
Civil Procedure 26(a), and must actively comply with discovery obligation s in the interim while the court is
scheduling the case management conference. In addition, the parties are expected to file the required disclosure
statement pursuant to Federal Rule of Civil Procedure 7.1.

       If service of the initial pleading is not made within the time allotted b y the Federal Rules of Civil
Procedure, a status report addressing the reasons for the delay and the course of action being pursued shall be
filed with the court via CM/ECF.

        It is important that an answer or other responsive pleading be filed within the time provided in the
Federal Rules of Civil Procedure. Counsel and self-represented parties are notified that they are not permitted
to enter into agreements for extension of time without seeking court approval. Such agreements, unless
approved by the court, are not permitted by the Federal Rules of Civil Procedure and cannot be honored.

       Any inquiries you have concerning this case should be directed to my courtroom deputy, Victoria
Edleblute, at (717) 221-3974.


                                             Sincerely,


                                             s/Jennifer P. Wilson
                                             Jennifer P. Wilson
                                             United States District Judge
                                             Middle District of Pennsylvania
